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 Fill in this information to identify your case:

 Debtor 1                     Davon Jermell White
                              First Name              Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)          First Name              Middle Name                      Last Name


 United States Bankruptcy Court for the:        CENTRAL DISTRICT OF CALIFORNIA

 Case number            2:24-bk-14190-NB
 (if known)                                                                                                                               ■     Check if this is an
                                                                                                                                              amended filing



B 104
F or In divid u a l C h a p t e r 1 1 C a s e s: Lis t of C r e dit ors W h o H a v e t h e 2 0 L a rg e s t
U ns e c ure d Claim s A g ainst Y ou a nd Are N ot Insid ers                                                                                                  1 2/1 5

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                              Unsecured claim
 1                                                          What is the nature of the claim?                  Deficency on auto                $123,393.00
                                                                                                              loan (Repossession)
              Ally Financial
              Attn: Bankruptcy                              As of the date you file, the claim is: Check all that apply
              P.O. Box 380901                                      Contingent
              Minneapolis, MN 55438                                Unliquidated

                                                                     Disputed
                                                                     None of the above apply

                                                            Does the creditor have a lien on your property?
                                                                     No
              Contact                                                Yes. Total claim (secured and unsecured)

              (800) 200-4622                                                  Value of security:                                  -
              Contact phone                                                   Unsecured claim


 2                                                          What is the nature of the claim?                  Credit Card for Failed           $1,716,761.00
                                                                                                              Business (Lawsuit)
              American Express
              P.O. Box 297871                               As of the date you file, the claim is: Check all that apply
              Fort Lauderdale, FL 33329                            Contingent

                                                                     Unliquidated

                                                                     Disputed
                                                                     None of the above apply

                                                            Does the creditor have a lien on your property?


B104 (Official Form 104)                    For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               Page 1
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 Debtor 1          Davon Jermell White                                                      Case number (if known)            2:24-bk-14190-NB

                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)

            (800) 874-2717                                                 Value of security:                                  -
            Contact phone                                                  Unsecured claim


 3                                                       What is the nature of the claim?                  Auto Lease                    $107,525.00
            BMW Financial Services
            5515 Parkcenter Dir                          As of the date you file, the claim is: Check all that apply
            Dublin, OH 43017                                    Contingent
                                                                Unliquidated
                                                                Disputed
                                                                None of the above apply

                                                         Does the creditor have a lien on your property?
                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)

            (800) 578-5000                                                 Value of security:                                  -
            Contact phone                                                  Unsecured claim


 4                                                       What is the nature of the claim?                  Credit Card                   $91,327.00
            Discover Bank
            502 E. Market St                             As of the date you file, the claim is: Check all that apply
            Greenwood, DE 19950                                 Contingent
                                                                Unliquidated
                                                                Disputed
                                                                None of the above apply

                                                         Does the creditor have a lien on your property?
                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)
                                                                         Value of security:                                    -
            Contact phone                                                Unsecured claim


 5                                                       What is the nature of the claim?                  Installment Account           $33,077.00
            FCC Finance
            16479 Dallas Parkway                         As of the date you file, the claim is: Check all that apply
            Suite 260                                           Contingent
            Addison, TX 75001                                   Unliquidated
                                                                Disputed
                                                                  None of the above apply

                                                         Does the creditor have a lien on your property?
                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)
                                                                         Value of security:                                    -
            Contact phone                                                Unsecured claim


 6                                                       What is the nature of the claim?                  Priority Tax Debt             $529,035.59
            Internal Revenue Service

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 Debtor 1          Davon Jermell White                                                      Case number (if known)            2:24-bk-14190-NB

            P.O. Box 7346                                As of the date you file, the claim is: Check all that apply
            Philadelphia, PA 19101-7346                         Contingent

                                                                  Unliquidated

                                                                  Disputed
                                                                  None of the above apply

                                                         Does the creditor have a lien on your property?
                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)
                                                                         Value of security:                                    -
            Contact phone                                                Unsecured claim


 7                                                       What is the nature of the claim?                  Unsecured Tax Debt            $280,485.04
            Internal Revenue Service
            P.O. Box 7346                                As of the date you file, the claim is: Check all that apply
            Philadelphia, PA 19101-7346                         Contingent

                                                                  Unliquidated

                                                                  Disputed
                                                                  None of the above apply

                                                         Does the creditor have a lien on your property?
                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)
                                                                         Value of security:                                    -
            Contact phone                                                Unsecured claim


 8                                                       What is the nature of the claim?                  Credit Card                   $75,903.00
            JPMCB Card
            P.O. Box 15369                               As of the date you file, the claim is: Check all that apply
            Wilmington, DE 19850                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                                None of the above apply

                                                         Does the creditor have a lien on your property?
                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)
                                                                         Value of security:                                    -
            Contact phone                                                Unsecured claim


 9                                                       What is the nature of the claim?                                                $12,884.81
            LA County Child Support
            Services                                     As of the date you file, the claim is: Check all that apply
            5500 S. Eastern Avenue                              Contingent
            Los Angeles, CA 90040                               Unliquidated
                                                                Disputed
                                                                None of the above apply

                                                         Does the creditor have a lien on your property?
                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)


B 104 (Official Form 104)                For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    Page 3
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 Debtor 1          Davon Jermell White                                                      Case number (if known)            2:24-bk-14190-NB

                                                                           Value of security:                                  -
            Contact phone                                                  Unsecured claim


 10                                                      What is the nature of the claim?                  3490 Wonder View                     $47,668.82
                                                                                                           Place, Los Angeles,
                                                                                                           California 90068 Los
                                                                                                           Angeles County
            Logix Federal Credit Union
            P.O. Box 4070                                As of the date you file, the claim is: Check all that apply
            Castaic, CA 91310                                   Contingent
                                                                Unliquidated
                                                                Disputed
                                                                  None of the above apply

                                                         Does the creditor have a lien on your property?

                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)                        $47,668.82
                                                                         Value of security:                                    - $2,312,800.00
            Contact phone                                                Unsecured claim                                           $47,668.82


 11                                                      What is the nature of the claim?                  6120 Flight Avenue                   $47,668.82
                                                                                                           Los Angeles,
                                                                                                           California 90056 Los
                                                                                                           Angeles County
            Logix Federal Credit Union
            P.O. Box 4070                                As of the date you file, the claim is: Check all that apply
            Castaic, CA 91310                                   Contingent
                                                                Unliquidated
                                                                Disputed
                                                                  None of the above apply

                                                         Does the creditor have a lien on your property?

                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)                        $48,106.63
                                                                         Value of security:                                    - $1,660,000.00
            Contact phone                                                Unsecured claim                                           $47,668.82


 12                                                      What is the nature of the claim?                  Credit Card (Possible                $44,947.00
                                                                                                           Duplicate)
            Logix Federal Credit Union
            27918 Franklin Parkway                       As of the date you file, the claim is: Check all that apply
            Valencia, CA 91355                                  Contingent
                                                                Unliquidated
                                                                Disputed
                                                                  None of the above apply

                                                         Does the creditor have a lien on your property?
                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)
                                                                         Value of security:                                    -
            Contact phone                                                Unsecured claim




B 104 (Official Form 104)                For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 4
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 Debtor 1          Davon Jermell White                                                      Case number (if known)            2:24-bk-14190-NB


 13                                                      What is the nature of the claim?                  6120 Flight Avenue,                 $40,955.45
                                                                                                           Los Angeles,
                                                                                                           California 90056 Los
                                                                                                           Angeles County
            Navy Federal Credit Union
            c/o Silverman Theologu LLP                   As of the date you file, the claim is: Check all that apply
            11630 Chayote St                                    Contingent
            Suite 3                                             Unliquidated
            Los Angeles, CA 90049                               Disputed
                                                                  None of the above apply

                                                         Does the creditor have a lien on your property?

                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)                       $40,955.45
                                                                         Value of security:                                    - $1,660,000.00
            Contact phone                                                Unsecured claim                                          $40,955.45


 14                                                      What is the nature of the claim?                  3490 Wonder View                    $40,586.00
                                                                                                           Place Los Angeles, CA
                                                                                                           90068 Los Angeles
                                                                                                           County
            Navy Federal Credit Union
            c/o Silverman Theologu LLP                   As of the date you file, the claim is: Check all that apply
            11630 Chayote St                                    Contingent
            Suite 3                                             Unliquidated
            Los Angeles, CA 90049                               Disputed
                                                                  None of the above apply

                                                         Does the creditor have a lien on your property?

                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)                       $40,586.00
                                                                         Value of security:                                    - $2,312,800.00
            Contact phone                                                Unsecured claim                                          $40,586.00


 15                                                      What is the nature of the claim?                  6120 Flight Avenue,                 $110,194.85
                                                                                                           Los Angeles,
                                                                                                           California 90056 Los
                                                                                                           Angeles County
            University Credit Union
            2629 Townsgate Rd. #140                      As of the date you file, the claim is: Check all that apply
            Westlake Village, CA 91361                          Contingent
                                                                Unliquidated
                                                                Disputed
                                                                  None of the above apply

                                                         Does the creditor have a lien on your property?

                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)                       $110,194.85
                                                                         Value of security:                                    - $1,660,000.00
            Contact phone                                                Unsecured claim                                          $110,194.85



B 104 (Official Form 104)                For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 5
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 Debtor 1          Davon Jermell White                                                      Case number (if known)            2:24-bk-14190-NB

 16                                                      What is the nature of the claim?                                                       $74,980.00
            University Credit Union
            Attn: Bankruptcy                             As of the date you file, the claim is: Check all that apply
            1500 S Sepulveda Blvd                               Contingent
            Los Angeles, CA 90025                               Unliquidated
                                                                Disputed
                                                                None of the above apply

                                                         Does the creditor have a lien on your property?
                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)
                                                                         Value of security:                                    -
            Contact phone                                                Unsecured claim


 17                                                      What is the nature of the claim?                  3490 Wonder View                     $110,194.85
                                                                                                           Place Los Angeles, CA
                                                                                                           90068 Los Angeles
                                                                                                           County
            University Credit Union
            2629 Townsgate Rd. #140                      As of the date you file, the claim is: Check all that apply
            Westlake Village, CA 91361                          Contingent
                                                                Unliquidated
                                                                Disputed
                                                                  None of the above apply

                                                         Does the creditor have a lien on your property?

                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)                        $110,194.85
                                                                         Value of security:                                    - $2,312,800.00
            Contact phone                                                Unsecured claim                                           $110,194.85


 18                                                      What is the nature of the claim?                  3490 Wonder View                     $26,586.19
                                                                                                           Place Los Angeles, CA
                                                                                                           90068 Los Angeles
                                                                                                           County
            Wells Fargo
            Office of General Counsel                    As of the date you file, the claim is: Check all that apply
            21680 Gateway Center Drive                          Contingent
            Suite 280                                           Unliquidated
            Diamond Bar, CA 91765                               Disputed
                                                                None of the above apply

                                                         Does the creditor have a lien on your property?

                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)                        $60,642.40
                                                                         Value of security:                                    - $2,312,800.00
            Contact phone                                                Unsecured claim                                           $26,586.19


 19                                                      What is the nature of the claim?                  6120 Flight Avenue                   $26,586.19
                                                                                                           Los Angeles, CA
                                                                                                           90056 Los Angeles
                                                                                                           County


B 104 (Official Form 104)                For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 6
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 Debtor 1          Davon Jermell White                                                      Case number (if known)            2:24-bk-14190-NB

            Wells Fargo
            Office of General Counsel                    As of the date you file, the claim is: Check all that apply
            21680 Gateway Center Drive                          Contingent
            Suite 280                                           Unliquidated
            Diamond Bar, CA 91765                               Disputed
                                                                  None of the above apply

                                                         Does the creditor have a lien on your property?

                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)                       $61,152.51
                                                                         Value of security:                                    - $1,660,000.00
            Contact phone                                                Unsecured claim                                          $26,586.19


 20                                                      What is the nature of the claim?                  3490 Wonder View                    $40,000.00
                                                                                                           Place Los Angeles, CA
                                                                                                           90068 Los Angeles
                                                                                                           County
            WF HIL 2017-2 Grantor Trust
            P.O. Box 795489                              As of the date you file, the claim is: Check all that apply
            Dallas, TX 75379-5489                               Contingent
                                                                Unliquidated
                                                                Disputed
                                                                  None of the above apply

                                                         Does the creditor have a lien on your property?

                                                                  No
            Contact                                               Yes. Total claim (secured and unsecured)                       $40,000.00
                                                                         Value of security:                                    - $2,312,800.00
            Contact phone                                                Unsecured claim                                          $40,000.00


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X                                           X
       Davon Jermell White                                                          Signature of Debtor 2
       Signature of Debtor 1


       Date                 6/11/24                                                 Date




B 104 (Official Form 104)                For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 7
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                                                      United States Bankruptcy Court
                                                             Central District of California
 In re    Davon Jermell White                                                                                     Case No.       2:24-bk-14190-NB
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Davon Jermell White                                         sole owner of
6120 Flight Avenue                                          the assets of
Los Angeles, CA 90056                                       the bankruptcy
                                                            estate.


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the of the named as the debtor in this case, declare under penalty of perjury that I have read the foregoing List
of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date                06/11/24                                             Signature
                                                                                        Davon Jermell White

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
None

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
None


I declare, under penalty of perjury, that the foregoing is true and correct.
Executed at                                                        , California.
                                                                                                     Davon Jermell White
Date:                6/11/24                                                                         Signature of Debtor 1



                                                                                                      Signature of Debtor 2




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                              Page 1              F 1015-2.1.STMT.RELATED.CASES
              Case 2:24-bk-14190-NB                               Doc 22 Filed 06/11/24 Entered 06/11/24 10:55:48                                                          Desc
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Fill in this information to identify your case:

Debtor 1                   Davon Jermell White
                           First Name                           Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  CENTRAL DISTRICT OF CALIFORNIA

Case number           2:24-bk-14190-NB
(if known)
                                                                                                                                                                 Check if this is an
                                                                                                                                                                    amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $         3,972,800.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $             178,207.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $         4,151,007.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $         4,504,979.34

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $             541,920.40

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $         2,556,685.04


                                                                                                                                    Your total liabilities $               7,603,584.78


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................                $                 2,244.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $              13,884.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

        Yes
7.     What kind of debt do you have?

              Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

              Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
               the court with your other schedules.


Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                       page 1 of 2
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Debtor 1    Davon Jermell White                                                         Case number (if known) 2:24-bk-14190-NB

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                    $


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

     9d. Student loans. (Copy line 6f.)                                                                 $

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


     9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
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                                                                        Main Document    Page 12 of 76
Fill in this information to identify your case and this filing:

Debtor 1                    Davon Jermell White
                            First Name                                 Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

Case number            2:24-bk-14190-NB                                                                                                                        Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   No. Go to Part 2.
   Yes. Where is the property?


1.1                                                                            What is the property? Check all that apply
       6120 Flight Avenue
       Street address, if available, or other description
                                                                                  Single-family home                            Do not deduct secured claims or exemptions. Put
                                                                                      Duplex or multi-unit building              the amount of any secured claims on Schedule D:
                                                                                                                                Creditors Who Have Claims Secured by Property.
                                                                                   Condominium or cooperative
                                                                                 
                                                                                  Manufactured or mobile home                   Current value of the      Current value of the
       Los Angeles                       CA        90056-0000                     Land                                          entire property?          portion you own?
       City                              State              ZIP Code              Investment property                               $1,660,000.00               $1,660,000.00
                                                                                  Timeshare                                     Describe the nature of your ownership interest
                                                                                  Other                                         (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.

                                                                                  Debtor 1 only                                 Fee simple
       Los Angeles                                                                Debtor 2 only
       County                                                                     Debtor 1 and Debtor 2 only
                                                                                  At least one of the debtors and another        Check    if this is community property
                                                                                                                                   (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1
               Case 2:24-bk-14190-NB                                    Doc 22 Filed 06/11/24 Entered 06/11/24 10:55:48                                           Desc
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Debtor 1          Davon Jermell White                                                                                       Case number (if known)    2:24-bk-14190-NB

        If you own or have more than one, list here:
1.2                                                                          What is the property? Check all that apply
        3490 Wonder View Place
        Street address, if available, or other description
                                                                                 Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                      Duplex or multi-unit building               the amount of any secured claims on Schedule D:
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                  Condominium or cooperative
                                                                                
                                                                                 Manufactured or mobile home                     Current value of the       Current value of the
        Los Angeles                       CA        90068-0000                   Land                                            entire property?           portion you own?
        City                              State              ZIP Code            Investment property                                 $2,312,800.00               $2,312,800.00
                                                                                 Timeshare                                       Describe the nature of your ownership interest
                                                                                 Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one       a life estate), if known.

                                                                                 Debtor 1 only                                   Fee simple
        Los Angeles                                                              Debtor 2 only
        County                                                                   Debtor 1 and Debtor 2 only
                                                                                 At least one of the debtors and another          Check    if this is community property
                                                                                                                                    (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                     $3,972,800.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   Yes

  3.1     Make:         Ford                                            Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                                   the amount of any secured claims on Schedule D:
          Model:        2018                                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
          Year:         F150 Raptor                                      Debtor 2 only                                            Current value of the      Current value of the
          Approximate mileage:                        68000              Debtor 1 and Debtor 2 only                               entire property?          portion you own?
          Other information:                                             At least one of the debtors and another
         Location: 6120 Flight Avenue.
         Los Angeles, California 90056                                   Check if this is community property                             $32,407.00                  $32,407.00
                                                                           (see instructions)



  3.2     Make:         Lamborgini                                      Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                                   the amount of any secured claims on Schedule D:
          Model:        Urus                                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
          Year:         2019                                             Debtor 2 only                                            Current value of the      Current value of the
          Approximate mileage:                        49000              Debtor 1 and Debtor 2 only                               entire property?          portion you own?
          Other information:                                             At least one of the debtors and another
         Location: 6120 Flight Avenue.
         Los Angeles, California 90056                                   Check if this is community property                            $140,000.00                $140,000.00
                                                                           (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                       page 2
           Case 2:24-bk-14190-NB                           Doc 22 Filed 06/11/24 Entered 06/11/24 10:55:48                                              Desc
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Debtor 1       Davon Jermell White                                                                                 Case number (if known)      2:24-bk-14190-NB
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
   Yes


5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>           $172,407.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes. Describe.....
                                   Beds, Bookshelves, Tables, Chairs, Couch, Washing Machine,
                                   Dryer, Refrigerator, Stove, Cabinets
                                   Location: 6120 Flight Avenue. Los Angeles, California 90056                                                               $3,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
    Yes. Describe.....
                                   2016 imac, 3 TV, iphone,
                                   Location: 6120 Flight Avenue. Los Angeles, California 90056                                                               $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
    Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
    Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes. Describe.....
                                   Clothes
                                   Location: 6120 Flight Avenue. Los Angeles, California 90056                                                                 $700.00




Official Form 106A/B                                                  Schedule A/B: Property                                                                      page 3
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Debtor 1          Davon Jermell White                                                                                      Case number (if known)   2:24-bk-14190-NB
12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes. Describe.....
                                           10 Karat Gold Chain
                                           Location: 6120 Flight Avenue. Los Angeles, California 90056                                                            $1,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
    Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
    No
    Yes. Give specific information.....

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                          $5,700.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:
                                                                                                Unify Financial Credit Union
                                                                                                Location: PO Box 10018. Manhattan Beach,
                                             17.1.       Checking                               California 90267                                                    $100.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
    Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
    Yes. Give specific information about them...................
                                                 Name of entity:                                                            % of ownership:

                                                 Prestige Elite Management Inc
                                                 Location: 2501 Lincoln Blvd. Venice, California
                                                 90291
                                                 Entity owns only the over encumbered real
                                                 estate located at 4337 Marina City Drive Unit 349.
                                                 Marina Del Rey, California 90292.                                               100          %                        $0.00




Official Form 106A/B                                                                    Schedule A/B: Property                                                         page 4
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Debtor 1        Davon Jermell White                                                                        Case number (if known)      2:24-bk-14190-NB


                                         Money King Check Cashing Incorporated
                                         Suspended Entity; No Assets; No Longer
                                         Operating.
                                         Location: 2501 Lincoln Blvd. Venice, California
                                         90291                                                                    100        %                            $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
    Yes. Give specific information about them
                                         Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                       Type of account:                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
    Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
    Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
    Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
    Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
    Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
    Yes. Give specific information about them...
Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you
    No
    Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
    Yes. Give specific information......
Official Form 106A/B                                                Schedule A/B: Property                                                                page 5
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Debtor 1        Davon Jermell White                                                                                             Case number (if known)        2:24-bk-14190-NB


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
    No
    Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
    Yes. Name the insurance company of each policy and list its value.
                                            Company name:                                                            Beneficiary:                                Surrender or refund
                                                                                                                                                                 value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
    No
    Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
    Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
    Yes. Describe each claim.........
35. Any financial assets you did not already list
    No
    Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................                $100.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
   Yes. Go to line 38.


Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
      Yes. Go to line 47.

Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    No
    Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00


Official Form 106A/B                                                          Schedule A/B: Property                                                                              page 6
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Debtor 1         Davon Jermell White                                                                                                   Case number (if known)   2:24-bk-14190-NB

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................            $3,972,800.00
56. Part 2: Total vehicles, line 5                                                                         $172,407.00
57. Part 3: Total personal and household items, line 15                                                      $5,700.00
58. Part 4: Total financial assets, line 36                                                                    $100.00
59. Part 5: Total business-related property, line 45                                                             $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
61. Part 7: Total other property not listed, line 54                                             +               $0.00

62. Total personal property. Add lines 56 through 61...                                                    $178,207.00               Copy personal property total          $178,207.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $4,151,007.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                           page 7
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Fill in this information to identify your case:

Debtor 1                Davon Jermell White
                        First Name                   Middle Name                  Last Name

Debtor 2
(Spouse if, filing)     First Name                   Middle Name                  Last Name


United States Bankruptcy Court for the:        CENTRAL DISTRICT OF CALIFORNIA

Case number           2:24-bk-14190-NB
(if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 106C
S c h e dule C: T h e Prop erty Y ou Claim a s E x e m pt                                                                                             4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     6120 Flight Avenue Los Angeles, CA                                                                                C.C.P. § 704.730
     90056 Los Angeles County
                                                          $1,660,000.00                              $699,421.00
     Line from Schedule A/B: 1.1                                                   100% of fair market value, up to
                                                                                    any applicable statutory limit

     F150 Raptor Ford 2018 68000 miles                                                                                 C.C.P. § 704.010
     Location: 6120 Flight Avenue. Los
                                                              $32,407.00                                $7,500.00
     Angeles, California 90056                                                     100% of fair market value, up to
     Line from Schedule A/B: 3.1                                                    any applicable statutory limit

     Beds, Bookshelves, Tables, Chairs,                                                                                C.C.P. § 704.020
     Couch, Washing Machine, Dryer,
                                                               $3,000.00                                $3,000.00
     Refrigerator, Stove, Cabinets                                                 100% of fair market value, up to
     Location: 6120 Flight Avenue. Los                                              any applicable statutory limit
     Angeles, California 90056
     Line from Schedule A/B: 6.1

     2016 imac, 3 TV, iphone,                                                                                          C.C.P. § 704.020
     Location: 6120 Flight Avenue. Los
                                                               $1,000.00                                $1,000.00
     Angeles, California 90056                                                     100% of fair market value, up to
     Line from Schedule A/B: 7.1                                                    any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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Debtor 1    Davon Jermell White                                                                Case number (if known)     2:24-bk-14190-NB
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Clothes                                                                                                             C.C.P. § 704.020
    Location: 6120 Flight Avenue. Los
                                                               $700.00                                  $700.00
    Angeles, California 90056                                                   100% of fair market value, up to
    Line from Schedule A/B: 11.1                                                 any applicable statutory limit

    10 Karat Gold Chain                                                                                                 C.C.P. § 704.040
    Location: 6120 Flight Avenue. Los
                                                            $1,000.00                                 $1,000.00
    Angeles, California 90056                                                   100% of fair market value, up to
    Line from Schedule A/B: 12.1                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                No
                Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
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Fill in this information to identify your case:

Debtor 1                   Davon Jermell White
                           First Name                      Middle Name                     Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                     Last Name


United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

Case number           2:24-bk-14190-NB
(if known)
                                                                                                                                              Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
S c h e d ul e D: C r e dit ors W h o H a v e C l a i m s S e c ur e d b y Pro p e rt y                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B               Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                           value of collateral.   claim                  If any
2.1     Ally Financial                           Describe the property that secures the claim:               $120,544.86               $140,000.00                   $0.00
        Creditor's Name                          2019 Lamborgini Urus 49000 miles
                                                 Location: 6120 Flight Avenue. Los
        Attn: Bankruptcy                         Angeles, California 90056
                                                 As of the date you file, the claim is: Check all that
        P.O. Box 380901                          apply.
        Minneapolis, MN 55438                     Contingent
        Number, Street, City, State & Zip Code    Unliquidated
                                                  Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                   An agreement you made (such as mortgage or secured
 Debtor 2 only                                       car loan)
 Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another         Judgment lien from a lawsuit
 Check if this claim relates to a                Other (including a right to offset)
      community debt

                                March 20,
Date debt was incurred          2019                      Last 4 digits of account number        0000




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 19
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Debtor 1 Davon Jermell White                                                                              Case number (if known)   2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


2.2    Aqua Finance Inc                           Describe the property that secures the claim:                  $38,174.00        $1,660,000.00           $0.00
       Creditor's Name                            6120 Flight Avenue, Los Angeles,
                                                  California 90056 Los Angeles
       1 Corporate Drive                          County
                                                  As of the date you file, the claim is: Check all that
       Suite 300                                  apply.
       Wausau, WI 54401                            Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
 Debtor 2 only
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another          Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)    Financing Statement
      community debt

                               December
Date debt was incurred         7, 2018                     Last 4 digits of account number        1339


2.3    Broadway Advance LLC                       Describe the property that secures the claim:                 $221,842.47        $1,660,000.00      $98,532.05
       Creditor's Name                            6120 Flight Avenue,
       c/o Collection at Law Inc.                 Los Angeles, California 90056
       3835R East Thousand                        Los Angeles County
       Oaks Blvd.                                 As of the date you file, the claim is: Check all that
                                                  apply.
       Suite 349
       Thousand Oaks, CA                           Contingent
       91362
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

                               July 15,
Date debt was incurred         2019                        Last 4 digits of account number        4853




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            Case 2:24-bk-14190-NB                             Doc 22 Filed 06/11/24 Entered 06/11/24 10:55:48                                      Desc
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Debtor 1 Davon Jermell White                                                                              Case number (if known)   2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


2.4    Broadway Advance LLC                       Describe the property that secures the claim:                 $221,842.47        $2,312,800.00      $50,531.19
       Creditor's Name                            3490 Wonder View Place, Los
       c/o Collection at Law Inc.                 Angeles, California 90068 Los
       3835R East Thousand                        Angeles County
       Oaks Blvd.                                 As of the date you file, the claim is: Check all that
                                                  apply.
       Suite 349
       Thousand Oaks, CA                           Contingent
       91362
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a         Other (including a right to offset)            Duplicate debt secured by more than one property, not
      community debt                                                                       counted towards total debt

                               July 15,
Date debt was incurred         2019                        Last 4 digits of account number        4853


       Logix Federal Credit
2.5                                                                                                           $1,088,454.06        $1,660,000.00           $0.00
       Union                                      Describe the property that secures the claim:
       Creditor's Name                            6120 Flight Avenue,
                                                  Los Angeles,California 90056
                                                  Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       27918 Franklin Parkway                     apply.
       Valencia, CA 91355                          Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another          Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

                               March 28,
Date debt was incurred         2018                        Last 4 digits of account number        9689




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            Case 2:24-bk-14190-NB                             Doc 22 Filed 06/11/24 Entered 06/11/24 10:55:48                                      Desc
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Debtor 1 Davon Jermell White                                                                              Case number (if known)   2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


       Logix Federal Credit
2.6                                                                                                              $48,106.63        $1,660,000.00      $48,106.63
       Union                                      Describe the property that secures the claim:
       Creditor's Name                            6120 Flight Avenue, Los Angeles,
                                                  California 90056
                                                  Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       P.O. Box 4070                              apply.
       Castaic, CA 91310                           Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

                               January 20,
Date debt was incurred         2022                        Last 4 digits of account number        0484


       Logix Federal Credit
2.7                                                                                                              $48,106.63        $2,312,800.00      $48,106.63
       Union                                      Describe the property that secures the claim:
       Creditor's Name                            3490 Wonder View Place
                                                  Los Angeles, California 90068
                                                  Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       P.O. Box 4070                              apply.
       Castaic, CA 91310                           Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a         Other (including a right to offset)            Duplicate debt secured by more than one property, not
      community debt                                                                       counted towards total debt

                               January 20,
Date debt was incurred         2022                        Last 4 digits of account number        0484




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            Case 2:24-bk-14190-NB                             Doc 22 Filed 06/11/24 Entered 06/11/24 10:55:48                                      Desc
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Debtor 1 Davon Jermell White                                                                              Case number (if known)   2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


       Los Angeles County Tax
2.8                                                                                                                  $246.40       $1,660,000.00        $246.40
       Collector                                  Describe the property that secures the claim:
       Creditor's Name                            6120 Flight Avenue
                                                  Los Angeles, California 90056
       225 North Hill Street                      Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       Room 122                                   apply.
       Los Angeles, CA 90012                       Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

                               December
Date debt was incurred         15, 2021                    Last 4 digits of account number        2448


       Los Angeles County Tax
2.9                                                                                                                  $286.89       $1,660,000.00        $286.89
       Collector                                  Describe the property that secures the claim:
       Creditor's Name                            6120 Flight Avenue
                                                  Los Angeles, California 90056
       225 North Hill Street                      Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       Room 122                                   apply.
       Los Angeles, CA 90012                       Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a         Other (including a right to offset)
      community debt

Date debt was incurred         12/22/2023                  Last 4 digits of account number        3052




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            Case 2:24-bk-14190-NB                             Doc 22 Filed 06/11/24 Entered 06/11/24 10:55:48                                      Desc
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Debtor 1 Davon Jermell White                                                                              Case number (if known)   2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


2.1    Los Angeles County Tax
0      Collector                                  Describe the property that secures the claim:                      $286.61       $1,660,000.00          $0.00
       Creditor's Name                            6120 Flight Avenue
                                                  Los Angeles, California 90056
       225 North Hill Street                      Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       Room 122                                   apply.
       Los Angeles, CA 90012                       Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

                               December
Date debt was incurred         15, 2022                    Last 4 digits of account number        4807


2.1    Los Angeles County Tax
1      Collector                                  Describe the property that secures the claim:                      $286.69       $1,660,000.00          $0.00
       Creditor's Name                            6120 Flight Avenue
                                                  Los Angeles, California 90056
       225 North Hill Street                      Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       Room 122                                   apply.
       Los Angeles, CA 90012                       Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

                               December
Date debt was incurred         22, 2023                    Last 4 digits of account number        3052




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            Case 2:24-bk-14190-NB                             Doc 22 Filed 06/11/24 Entered 06/11/24 10:55:48                                      Desc
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Debtor 1 Davon Jermell White                                                                              Case number (if known)   2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


2.1    Los Angeles County Tax
2      Collector                                  Describe the property that secures the claim:                      $246.40       $2,312,800.00        $246.40
       Creditor's Name                            3490 Wonder View Place
                                                  Los Angeles, California 90068
       225 North Hill Street                       Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       Room 122                                   apply.
       Los Angeles, CA 90012                       Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a         Other (including a right to offset) Duplicate debt secured by more than one property, not
      community debt                                                                       counted towards total debt

                               December
Date debt was incurred         15, 2021                    Last 4 digits of account number        2448


2.1    Los Angeles County Tax
3      Collector                                  Describe the property that secures the claim:                      $286.69       $2,312,800.00        $286.69
       Creditor's Name                            3490 Wonder View Place
                                                  Los Angeles, California 90068
       225 North Hill Street                      Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       Room 122                                   apply.
       Los Angeles, CA 90012                       Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)
 Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a         Other (including a right to offset) Duplicate debt secured by more than one property, not
      community debt                                                                       counted towards total debt

                               December
Date debt was incurred         22, 2023                    Last 4 digits of account number        3052




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Debtor 1 Davon Jermell White                                                                              Case number (if known)   2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


2.1    Los Angeles County Tax
4      Collector                                  Describe the property that secures the claim:                      $286.89       $2,312,800.00        $286.89
       Creditor's Name                            3490 Wonder View Place
                                                  Los Angeles, California 90068
       225 North Hill Street                      Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       Room 122                                   apply.
       Los Angeles, CA 90012                       Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a         Other (including a right to offset) Duplicate debt secured by more than one property, not
      community debt                                                                       counted towards total debt

Date debt was incurred         12/22/2023                  Last 4 digits of account number        3052

2.1    Los Angeles County Tax
5      Collector                                  Describe the property that secures the claim:                      $286.61       $2,312,800.00        $286.61
       Creditor's Name                            3490 Wonder View Place
                                                  Los Angeles, California 90068
       225 North Hill Street                      Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       Room 122                                   apply.
       Los Angeles, CA 90012                       Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a         Other (including a right to offset)            Duplicate debt secured by more than one property, not
      community debt                                                                       counted towards total debt

                               December
Date debt was incurred         15, 2022                    Last 4 digits of account number        4807




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            Case 2:24-bk-14190-NB                             Doc 22 Filed 06/11/24 Entered 06/11/24 10:55:48                                      Desc
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Debtor 1 Davon Jermell White                                                                              Case number (if known)   2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


2.1    Navy Federal Credit
6      Union                                      Describe the property that secures the claim:                  $40,955.45        $1,660,000.00      $40,955.45
       Creditor's Name                            6120 Flight Avenue
       c/o Silverman Theologu                     Los Angeles, California 90056
       LLP                                        Los Angeles County
       11630 Chayote Street                       As of the date you file, the claim is: Check all that
                                                  apply.
       Suite 3
       Los Angeles, CA 90049                       Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

                               March 8,
Date debt was incurred         2022                        Last 4 digits of account number        4345


2.1    Navy Federal Credit
7      Union                                      Describe the property that secures the claim:                  $40,955.45        $2,312,800.00      $40,955.45
       Creditor's Name                            3490 Wonder View Place
       c/o Silverman Theologu                     Los Angeles, California 90068
       LLP                                        Los Angeles County
       11630 Chayote Street                       As of the date you file, the claim is: Check all that
                                                  apply.
       Suite 3
       Los Angeles, CA 90049                       Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a         Other (including a right to offset)            Duplicate debt secured by more than one property, not
      community debt                                                                       counted towards total debt

                               March 8,
Date debt was incurred         2022                        Last 4 digits of account number        4345




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            Case 2:24-bk-14190-NB                             Doc 22 Filed 06/11/24 Entered 06/11/24 10:55:48                                      Desc
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Debtor 1 Davon Jermell White                                                                              Case number (if known)   2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


2.1
8      Powersport Financial                       Describe the property that secures the claim:                  $20,146.00         $140,000.00          $690.86
       Creditor's Name                            2019 Lamborgini Urus 49000 miles
                                                  Location: 6120 Flight Avenue
                                                  Los Angeles, California 90056
                                                  As of the date you file, the claim is: Check all that
       14555 Keswick Street                       apply.
       Van Nuys, CA 91405                          Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another          Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

Date debt was incurred         2019                        Last 4 digits of account number        2633

2.1
9      Queen Funding LLC                          Describe the property that secures the claim:                 $181,053.13        $1,660,000.00      $181,053.13
       Creditor's Name                            6120 Flight Avenue
       c/o Law Offices of Todd                    Los Angeles, California 90056
       Haines                                     Los Angeles County
       30495 Canwood Street                       As of the date you file, the claim is: Check all that
                                                  apply.
       Suite 100
       Agoura Hills, CA 91301                      Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

Date debt was incurred         6/4/2019                    Last 4 digits of account number        3016




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Debtor 1 Davon Jermell White                                                                              Case number (if known)   2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


2.2
0      Queen Funding LLC                          Describe the property that secures the claim:                 $181,053.13        $2,312,800.00      $181,053.13
       Creditor's Name                            3490 Wonder View Place
       c/o Law Offices of Todd                    Los Angeles, California 90068
       Haines                                     Los Angeles County
       30495 Canwood Street                       As of the date you file, the claim is: Check all that
                                                  apply.
       Suite 100
       Agoura Hills, CA 91301                      Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a         Other (including a right to offset)            Duplicate debt secured by more than one property, not
      community debt                                                                       counted towards total debt

Date debt was incurred         6/4/2019                    Last 4 digits of account number        3016

2.2
1      State of California                        Describe the property that secures the claim:                    $4,640.47       $1,660,000.00        $4,640.47
       Creditor's Name                            6120 Flight Avenue
       Franchise Tax Board                        Los Angeles, California 90056
       P.O. Box 942867                            Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       Sacramento, CA                             apply.
       94267-0011                                  Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a         Other (including a right to offset) For tax year 2018
      community debt

                               November
Date debt was incurred         1, 2023                     Last 4 digits of account number        2870




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            Case 2:24-bk-14190-NB                             Doc 22 Filed 06/11/24 Entered 06/11/24 10:55:48                                      Desc
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Debtor 1 Davon Jermell White                                                                              Case number (if known)   2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


2.2
2      State of California                        Describe the property that secures the claim:                    $4,640.47       $2,312,800.00      $4,640.47
       Creditor's Name                            3490 Wonder View Place
       Franchise Tax Board                        Los Angeles, California 90068
       P.O. Box 942867                            Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       Sacramento, CA                             apply.
       94267-0011                                  Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a         Other (including a right to offset) Duplicate debt secured by more than one property, not
      community debt                                                                       counted

                               November
Date debt was incurred         1, 2023                     Last 4 digits of account number        2870


2.2
3      University Credit Union                    Describe the property that secures the claim:                  $11,631.38          $32,407.00           $0.00
       Creditor's Name                            F150 Raptor Ford 2018 68000 miles
       Attn: Bankruptcy                           Location: 6120 Flight Avenue
       1500 South Sepulveda                       Los Angeles, California 90056
                                                  As of the date you file, the claim is: Check all that
       Blvd.                                      apply.
       Los Angeles, CA 90025                       Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another          Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

Date debt was incurred         May 5, 2018                 Last 4 digits of account number        XXXX




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Debtor 1 Davon Jermell White                                                                              Case number (if known)   2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


2.2
4      University Credit Union                    Describe the property that secures the claim:                 $110,194.85        $1,660,000.00      $110,194.85
       Creditor's Name                            6120 Flight Avenue
       2629 Townsgate Road                        Los Angeles, California 90056
       Suite 140                                  Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       Westlake Village, CA                       apply.
       91361                                       Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

                               December
Date debt was incurred         15, 2021                    Last 4 digits of account number        6475


2.2
5      University Credit Union                    Describe the property that secures the claim:                 $110,194.85        $2,312,800.00      $110,194.85
       Creditor's Name                            3490 Wonder View Place
       2629 Townsgate Road                        Los Angeles, California 90068
       Suite 140                                  Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       Westlake Village, CA                       apply.
       91361                                       Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a         Other (including a right to offset)            Duplicate debt secured by more than one property, not
      community debt                                                                       counted towards total debt

                               December
Date debt was incurred         15, 2021                    Last 4 digits of account number        6475




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Debtor 1 Davon Jermell White                                                                              Case number (if known)   2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


2.2
6      University CU/Truhome                      Describe the property that secures the claim:               $1,597,645.22        $2,312,800.00          $0.00
       Creditor's Name                            3490 Wonder View Place
                                                  Los Angeles, California 90068
                                                  Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       9601 Legler Road                           apply.
       Lenexa, KS 66219                            Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another          Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

                               August 16,
Date debt was incurred         2018                        Last 4 digits of account number        XXXX


2.2    V & E Inc DBA
7      Powersport Financial                       Describe the property that secures the claim:                 $503,843.50        $2,312,800.00          $0.00
       Creditor's Name                            3490 Wonder View Place
                                                  Los Angeles, California 90068
                                                  Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       14555 Keswick Street                       apply.
       Van Nuys, CA 91405                          Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another          Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

                               May 27,
Date debt was incurred         2017                        Last 4 digits of account number        XXXX




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Debtor 1 Davon Jermell White                                                                              Case number (if known)   2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


2.2    Viet-Son Le and Pasya
8      Fong                                       Describe the property that secures the claim:                 $409,488.22        $1,660,000.00           $0.00
       Creditor's Name                            6120 Flight Avenue
                                                  Los Angeles, California 90056
                                                  Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       19143 Hamilton Avenue                      apply.
       Gardena, CA 90248                           Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another          Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

                               October 19,
Date debt was incurred         2018                        Last 4 digits of account number        XXXX


2.2
9      Wells Fargo                                Describe the property that secures the claim:                  $61,152.51        $1,660,000.00      $61,152.51
       Creditor's Name                            6120 Flight Avenue
       Office of General                          Los Angeles, California 90056
       Counsel                                    Los Angeles County
       21680 Gateway Center                       As of the date you file, the claim is: Check all that
                                                  apply.
       Drive
       Suite 280                                   Contingent
       Diamond Bar, CA 91765
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

                               December
Date debt was incurred         1, 2020                     Last 4 digits of account number        2119




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Debtor 1 Davon Jermell White                                                                              Case number (if known)         2:24-bk-14190-NB
             First Name                  Middle Name                     Last Name


2.3
0      Wells Fargo                                Describe the property that secures the claim:                   $61,152.51             $2,312,800.00           $61,152.51
       Creditor's Name                            3490 Wonder View Place
       Office of General                          Los Angeles, California 90068
       Counsel                                    Los Angeles County
       21680 Gateway Center                       As of the date you file, the claim is: Check all that
                                                  apply.
       Drive
       Suite 280                                   Contingent
       Diamond Bar, CA 91765
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a         Other (including a right to offset)            Duplicate debt secured by more than one property, not
      community debt                                                                       counted towards total debt

                               December
Date debt was incurred         1, 2020                     Last 4 digits of account number        2119


2.3    WF HIL 2017-2 Grantor
1      Trust                                      Describe the property that secures the claim:                   $40,000.00             $2,312,800.00                 $0.00
       Creditor's Name                            3490 Wonder View Place
                                                  Los Angeles, California 90068
                                                  Los Angeles County
                                                  As of the date you file, the claim is: Check all that
       P.O. Box 795489                            apply.
       Dallas, TX 75379-5489                       Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
 Debtor 2 only
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another          Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)    UCC-1
      community debt

                               December
Date debt was incurred         19, 2022                    Last 4 digits of account number        0731



  Add the dollar value of your entries in Column A on this page. Write that number here:                               $4,504,979.34
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                              $4,504,979.34

Part 2:    List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

[ ]
          Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.24
          Alana B. Anaya
          Anaya Law Group                                                                          Last 4 digits of account number
          2629 Townsgate Road
          Suite 140
          Westlake Village, CA 91361

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Debtor 1 Davon Jermell White                                                       Case number (if known)          2:24-bk-14190-NB
           First Name             Middle Name               Last Name



[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.2
        Aqua Finance
        P.O. Box 844                                                         Last 4 digits of account number
        Wausau, WI 54402-0844

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.2
        Aqua Finance
        1 Corporate Cove                                                     Last 4 digits of account number   5425
        Suite 300
        Wausau, WI 54401

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.3
        Broadway Advance LLC
        c/o The LLC                                                          Last 4 digits of account number
        39 Broadway
        9th Floor
        New York, NY 10006

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.3
        Broadway Advance LLC
        c/o Rennie Gardner                                                   Last 4 digits of account number
        7697 21st Avenue
        Sacramento, CA 95820

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.3
        Broadway Advance LLC
        241 37th Street                                                      Last 4 digits of account number
        Brooklyn, NY 11232

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.2
        Connexus Credit Union
        1 Corporate Drive                                                    Last 4 digits of account number
        Suite 700
        Wausau, WI 54401

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.5
        Logix FCU
        150 Woodfield Dr.                                                    Last 4 digits of account number
        Suite 400E
        Schaumburg, IL 60173

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.5
        Logix FCU/Dovenmuehle
        1 Corporate Drive                                                    Last 4 digits of account number   9689
        Suite 360
        Lake Zurich, IL 60047

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.5
        Logix Federal Credit Union
        1501 Woodfield Road                                                  Last 4 digits of account number
        Schaumburg, IL 60173-6052




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Debtor 1 Davon Jermell White                                                       Case number (if known)          2:24-bk-14190-NB
           First Name             Middle Name               Last Name


[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.16
        Navy Federal Credit Union
        820 Follin Lane                                                      Last 4 digits of account number
        Vienna, VA 22180

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.19
        Queen Funding LLC
        4221 Cedar Lake Drive                                                Last 4 digits of account number
        Lakewood, NJ 08701

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.19
        Queen Funding LLC
        101 Chase Avenue                                                     Last 4 digits of account number
        Suite 208
        Lakewood, NJ 08701

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.19
        Queen Funding LLC
        200 Central Avenue                                                   Last 4 digits of account number
        Farmingdale, NJ 07727-3788

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.20
        Queen Funding LLC
        4221 Cedar Lake Drive                                                Last 4 digits of account number
        Lakewood, NJ 08701

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.20
        Queen Funding LLC
        101 Chase Avenue                                                     Last 4 digits of account number
        Suite 208
        Lakewood, NJ 08701

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.20
        Queen Funding LLC
        200 Central Avenue                                                   Last 4 digits of account number
        Farmingdale, NJ 07727-3788

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.21
        State of California
        Franchise Tax Board                                                  Last 4 digits of account number
        Special Procedures Section
        P.O. Box 2952
        Sacramento, CA 95812-2952

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.26
        TruHome Solutions
        6330 Sprint Parkway                                                  Last 4 digits of account number
        Suite 200
        Leawood, KS 66211

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.31
        WF HIL 2017-2 Grantor Trust
        Wilmington Savings Fund Society                                      Last 4 digits of account number
        500 Delaware Avenue
        11th Floor
        Wilmington, DE 19801

Official Form 106D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 18 of 19
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Debtor 1 Davon Jermell White                                              Case number (if known)   2:24-bk-14190-NB
          First Name     Middle Name              Last Name




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Fill in this information to identify your case:

Debtor 1                   Davon Jermell White
                           First Name                      Middle Name                       Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                       Last Name


United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

Case number           2:24-bk-14190-NB
(if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
       No. Go to Part 2.
       Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
2.1          Internal Revenue Service                            Last 4 digits of account number                         $529,035.59        $529,035.59                    $0.00
             Priority Creditor's Name
                                                                                                         Tax Returns 2020 to
             P.O. Box 7346                                       When was the debt incurred?             2023
             Philadelphia, PA 19101-7346
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.
                                                                  Contingent
        Debtor 1 only                                            Unliquidated
        Debtor 2 only
                                                                  Disputed
        Debtor 1 and Debtor 2 only
                                                                 Type of PRIORITY unsecured claim:
        At least one of the debtors and another                  Domestic support obligations
        Check if this claim is for a community debt
       Is the claim subject to offset?
                                                                  Taxes and certain other debts you owe the government
                                                                  Claims for death or personal injury while you were intoxicated
        No
        Yes                                                      Other. Specify
                                                                                       Priority Tax Debt




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Debtor 1 Davon Jermell White                                                                              Case number (if known)            2:24-bk-14190-NB

           LA County Child Support
2.2        Services                                               Last 4 digits of account number                          $12,884.81             $12,884.81                    $0.00
           Priority Creditor's Name
           5500 S. Eastern Avenue                                 When was the debt incurred?
           Los Angeles, CA 90040
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                             Unliquidated
        Debtor 2 only                                             Disputed
        Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

        At least one of the debtors and another                   Domestic support obligations
        Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
        Yes

Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1        Ally Financial                                            Last 4 digits of account number         1927                                                     $123,393.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                          When was the debt incurred?             March 20, 2019
           P.O. Box 380901
           Minneapolis, MN 55438
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                      Contingent
            Debtor 1 only
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
                                                                     Type of NONPRIORITY unsecured claim:
            At least one of the debtors and another
                                                                      Student loans
            Check if this claim is for a community
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify Deficiency on auto loan (Repossession)




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 9
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4.2      American Express                                  Last 4 digits of account number       1853                                        $1,716,761.00
         Nonpriority Creditor's Name
         P.O. Box 297871                                   When was the debt incurred?           2011 to 2019
         Fort Lauderdale, FL 33329
         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
          At least one of the debtors and another         Type of NONPRIORITY unsecured claim:
                                                            Student loans
          Check if this claim is for a community
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify Credit Card for Failed Business (Lawsuit)

4.3      BMW Financial Services                            Last 4 digits of account number       3XXX                                           $107,525.00
         Nonpriority Creditor's Name
         5515 Parkcenter Dir                               When was the debt incurred?           2014 to 2020
         Dublin, OH 43017
         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
          At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community           Student loans
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify Auto Lease

4.4      CBNA                                              Last 4 digits of account number       XXXX                                             $4,671.00
         Nonpriority Creditor's Name
         50 Northwest Point                                When was the debt incurred?           2015
         Elk Grove Village, IL 60007
         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
          At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community           Student loans
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify Credit Card




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4.5      Discover Bank                                   Last 4 digits of account number       XXXX                                           $91,327.00
         Nonpriority Creditor's Name
         502 E. Market St                                When was the debt incurred?           2012 to 2020
         Greenwood, DE 19950
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify Credit Card

4.6      FCC Finance                                     Last 4 digits of account number       0XXX                                           $33,077.00
         Nonpriority Creditor's Name
         16479 Dallas Parkway                            When was the debt incurred?           2017
         Suite 260
         Addison, TX 75001
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify Installment Account

4.7      I.C. System, Inc.                               Last 4 digits of account number       4036                                             $404.00
         Nonpriority Creditor's Name
         PO Box 64378                                    When was the debt incurred?           2021
         Saint Paul, MN 55164-0378
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify Internet




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Debtor 1 Davon Jermell White                                                                   Case number (if known)        2:24-bk-14190-NB

4.8      Internal Revenue Service                          Last 4 digits of account number       XXXX                                           $280,485.04
         Nonpriority Creditor's Name
         P.O. Box 7346                                     When was the debt incurred?           2015 to 2019
         Philadelphia, PA 19101-7346
         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
          At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community           Student loans
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify Unsecured Tax Debt

4.9      JPMCB Card                                        Last 4 digits of account number       XXXX                                            $75,903.00
         Nonpriority Creditor's Name
         P.O. Box 15369                                    When was the debt incurred?           2005-2019
         Wilmington, DE 19850
         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
          At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community           Student loans
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify Credit Card

4.1
0        Logix Federal Credit Union                        Last 4 digits of account number       0XXX                                            $44,947.00
         Nonpriority Creditor's Name
         27918 Franklin Parkway                            When was the debt incurred?           2016 to 2021
         Valencia, CA 91355
         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
          At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community           Student loans
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify Credit Card (Possible Duplicate)




Official Form 106 E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 5 of 9
           Case 2:24-bk-14190-NB                        Doc 22 Filed 06/11/24 Entered 06/11/24 10:55:48                                              Desc
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Debtor 1 Davon Jermell White                                                                       Case number (if known)        2:24-bk-14190-NB

4.1
1         Syncb/Lowes                                          Last 4 digits of account number       XXXX                                                 $2,554.00
          Nonpriority Creditor's Name
          P.O. Box 965005                                      When was the debt incurred?           2015 to 2022
          Orlando, FL 32896
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                       Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community              Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

           No                                                  Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify Credit Card

4.1
2         Transworld Systems                                   Last 4 digits of account number       18XX                                                    $658.00
          Nonpriority Creditor's Name
          P.O. Box 1864                                        When was the debt incurred?           August 19, 2023
          Santa Rosa, CA 95402
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                       Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community              Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

           No                                                  Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify Florida Power and Light Company

4.1
3         University Credit Union                              Last 4 digits of account number       68XX                                                $74,980.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                     When was the debt incurred?           2018 to 2020
          1500 S Sepulveda Blvd
          Los Angeles, CA 90025
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                       Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community              Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

           No                                                  Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.


Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 6 of 9
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Debtor 1 Davon Jermell White                                                     Case number (if known)        2:24-bk-14190-NB
Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Ally Financial                        Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
200 Renaissance Ctr #B0                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Detroit, MI 48243
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
American Express                      Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
P.O. Box 981537                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
El Paso, TX 79998
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
American Express Head Office          Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
World Financial Center                                                          Part 2: Creditors with Nonpriority Unsecured Claims
200 Vesey Street
New York, NY 10285
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
American Express National Bank        Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
115 W. Towne Ridge Pkwy                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Sandy, UT 84070
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
BMW Financial Services                Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
5550 Britton Parkway                                                            Part 2: Creditors with Nonpriority Unsecured Claims
Hilliard, OH 43026-7456
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
BMW Financial Services                Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
5550 Britton Pkwy                                                               Part 2: Creditors with Nonpriority Unsecured Claims
P.O. Box 2071996
Hilliard, OH 43026-7456
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
BMW Financial Services                Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
PO Box 3608                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Dublin, OH 43016-0306
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
BMW Financial Services NA, LLC        Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
P.O. Box 201347                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Arlington, TX 76006
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
CBNA                                  Line 4.4 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
P.O. Box 6597                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
Sioux Falls, SD 57117
                                      Last 4 digits of account number                    1301

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Charter Communications                Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
400 Washington Blvd                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Stamford, CT 06902
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Community Bank, N.A                   Line 4.4 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
45-49 Court Street                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Canton, NY 13617
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?


Official Form 106 E/F            Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 7 of 9
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Discover Bank                       Line 4.5 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
P.O. Box 15316                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Att: CMS/Prod Develop
Wilmington, DE 19850-5316
                                    Last 4 digits of account number

Name and Address                    On which entry in Part 1 or Part 2 did you list the original creditor?
Discover Card                       Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
P.O. Box 30939                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Salt Lake City, UT 84130
                                    Last 4 digits of account number                2683

Name and Address                    On which entry in Part 1 or Part 2 did you list the original creditor?
Gurstell Law Firm , P.C.            Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
9320 East Raintree Drive                                                   Part 2: Creditors with Nonpriority Unsecured Claims
Scottsdale, AZ 85260
                                    Last 4 digits of account number                1253

Name and Address                    On which entry in Part 1 or Part 2 did you list the original creditor?
JPMCB - Card Services               Line 4.9 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
301 N. Walnut St                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Floor 09
Wilmington, DE 19801-3935
                                    Last 4 digits of account number

Name and Address                    On which entry in Part 1 or Part 2 did you list the original creditor?
JPMorgan Chase Bank N.A.            Line 4.9 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
111 Polaris Pkwy                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Columbus, OH 43240
                                    Last 4 digits of account number

Name and Address                    On which entry in Part 1 or Part 2 did you list the original creditor?
Kinecta FCU                         Line of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
P.O. B 1003                                                                Part 2: Creditors with Nonpriority Unsecured Claims
Manhattan Beach, CA 90266
                                    Last 4 digits of account number

Name and Address                    On which entry in Part 1 or Part 2 did you list the original creditor?
Logix FCU                           Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
P.O. Box 6759                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Burbank, CA 91510
                                    Last 4 digits of account number

Name and Address                    On which entry in Part 1 or Part 2 did you list the original creditor?
Logix Federal Credit Union          Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
P.O. Box 4070                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Castaic, CA 91310
                                    Last 4 digits of account number

Name and Address                    On which entry in Part 1 or Part 2 did you list the original creditor?
Logix Federal Credit Union          Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
2340 Hollywood Way                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Burbank, CA 91505
                                    Last 4 digits of account number

Name and Address                    On which entry in Part 1 or Part 2 did you list the original creditor?
Nextera Energy Inc                  Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
700 Universe Blvd                                                          Part 2: Creditors with Nonpriority Unsecured Claims
North Palm Beach, FL 33408
                                    Last 4 digits of account number

Name and Address                    On which entry in Part 1 or Part 2 did you list the original creditor?
Syncb/Lowes                         Line 4.11 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
4125 Winward Plaza                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Alpharetta, GA 30005
                                    Last 4 digits of account number

Name and Address                    On which entry in Part 1 or Part 2 did you list the original creditor?
SYNCB/Lowes                         Line 4.11 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Official Form 106 E/F          Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 8 of 9
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P.O. Box 71727                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Philadelphia, PA 19176
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Synchrony Bank                                               Line 4.11 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
170 W. Election Rd Ste 125                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
Draper, UT 84020
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Transworld Systems                                           Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
P.O. Box 15283                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Wilmington, DE 19850
                                                             Last 4 digits of account number                      7686

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Transworld Systems I                                         Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
P.O. Box 15270                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Wilmington, DE 19840-5270
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Transworld Systems Inc                                       Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
500 Virginia Dr Ft                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
Fort Washington, PA 19034
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                  12,884.81
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.       $                 529,035.59
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                       0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                       0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                 541,920.40

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.       $                         0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $              2,556,685.04

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $              2,556,685.04




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 9 of 9
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Fill in this information to identify your case:

Debtor 1                 Davon Jermell White
                         First Name                         Middle Name              Last Name

Debtor 2
(Spouse if, filing)      First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

Case number           2:24-bk-14190-NB
(if known)
                                                                                                                                  Check if this is an
                                                                                                                                     amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                     State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number       Street

          City                                    State                   ZIP Code
 2.2
          Name


          Number       Street

          City                                    State                   ZIP Code
 2.3
          Name


          Number       Street

          City                                    State                   ZIP Code
 2.4
          Name


          Number       Street

          City                                    State                   ZIP Code
 2.5
          Name


          Number       Street

          City                                    State                   ZIP Code




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                   Davon Jermell White
                           First Name                           Middle Name       Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name       Last Name


United States Bankruptcy Court for the:                 CENTRAL DISTRICT OF CALIFORNIA

Case number           2:24-bk-14190-NB
(if known)
                                                                                                                          Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
      Yes
      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
      Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


   3.1         Money King Check Cashing Inc                                                        Schedule D, line
               2501 Lincoln Blvd                                                                   Schedule E/F, line     4.2
               Venice, CA 90291
                                                                                                   Schedule G
                                                                                                  American Express



   3.2         Money King Check Cashing Inc                                                        Schedule D, line
               2501 Lincoln Blvd                                                                   Schedule E/F, line     4.3
               Venice, CA 90291
                                                                                                   Schedule G
                                                                                                  BMW Financial Services



   3.3         Money King Check Cashing Inc                                                        Schedule D, line     2.3
               2501 Lincoln Blvd                                                                   Schedule E/F, line
               Venice, CA 90291
                                                                                                   Schedule G
                                                                                                  Broadway Advance LLC




Official Form 106H                                                            Schedule H: Your Codebtors                                   Page 1 of 8
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         Additional Page to List More Codebtors
         Column 1: Your codebtor                                            Column 2: The creditor to whom you owe the debt
                                                                            Check all schedules that apply:
  3.4    Money King Check Cashing Inc                                        Schedule D, line       2.4
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Broadway Advance LLC



  3.5    Money King Check Cashing Inc                                        Schedule D, line
         2501 Lincoln Blvd                                                   Schedule E/F, line      2.2
         Venice, CA 90291
                                                                             Schedule G
                                                                            LA County Child Support Services



  3.6    Money King Check Cashing Inc                                        Schedule D, line       2.6
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Logix Federal Credit Union



  3.7    Money King Check Cashing Inc                                        Schedule D, line       2.7
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Logix Federal Credit Union



  3.8    Money King Check Cashing Inc                                        Schedule D, line       2.8
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector



  3.9    Money King Check Cashing Inc                                        Schedule D, line       2.9
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector



  3.10   Money King Check Cashing Inc                                        Schedule D, line       2.10
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector



  3.11   Money King Check Cashing Inc                                        Schedule D, line       2.11
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector




Official Form 106H                                      Schedule H: Your Codebtors                                 Page 2 of 8
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Debtor 1 Davon Jermell White                                           Case number (if known)   2:24-bk-14190-NB


         Additional Page to List More Codebtors
         Column 1: Your codebtor                                            Column 2: The creditor to whom you owe the debt
                                                                            Check all schedules that apply:
  3.12   Money King Check Cashing Inc                                        Schedule D, line       2.12
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector



  3.13   Money King Check Cashing Inc                                        Schedule D, line       2.13
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector



  3.14   Money King Check Cashing Inc                                        Schedule D, line       2.14
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector



  3.15   Money King Check Cashing Inc                                        Schedule D, line       2.15
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector



  3.16   Money King Check Cashing Inc                                        Schedule D, line
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291                                                    Schedule G
                                                                            Luxury Auto



  3.17   Money King Check Cashing Inc                                        Schedule D, line       2.16
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Navy Federal Credit Union



  3.18   Money King Check Cashing Inc                                        Schedule D, line       2.17
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Navy Federal Credit Union



  3.19   Money King Check Cashing Inc                                        Schedule D, line       2.18
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Powersport Financial




Official Form 106H                                      Schedule H: Your Codebtors                                 Page 3 of 8
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Debtor 1 Davon Jermell White                                           Case number (if known)   2:24-bk-14190-NB


         Additional Page to List More Codebtors
         Column 1: Your codebtor                                            Column 2: The creditor to whom you owe the debt
                                                                            Check all schedules that apply:
  3.20   Money King Check Cashing Inc                                        Schedule D, line       2.19
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Queen Funding LLC



  3.21   Money King Check Cashing Inc                                        Schedule D, line       2.20
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Queen Funding LLC



  3.22   Money King Check Cashing Inc                                        Schedule D, line       2.21
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            State of California



  3.23   Money King Check Cashing Inc                                        Schedule D, line       2.22
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            State of California



  3.24   Money King Check Cashing Inc                                        Schedule D, line       2.24
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            University Credit Union



  3.25   Money King Check Cashing Inc                                        Schedule D, line       2.25
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            University Credit Union



  3.26   Money King Check Cashing Inc                                        Schedule D, line       2.26
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            University CU/Truhome



  3.27   Money King Check Cashing Inc                                        Schedule D, line       2.29
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Wells Fargo




Official Form 106H                                      Schedule H: Your Codebtors                                 Page 4 of 8
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Debtor 1 Davon Jermell White                                           Case number (if known)   2:24-bk-14190-NB


         Additional Page to List More Codebtors
         Column 1: Your codebtor                                            Column 2: The creditor to whom you owe the debt
                                                                            Check all schedules that apply:
  3.28   Money King Check Cashing Inc                                        Schedule D, line       2.30
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Wells Fargo



  3.29   Prestige Elite Management Inc                                       Schedule D, line
         2501 Lincoln Blvd                                                   Schedule E/F, line      4.2
         Venice, CA 90291
                                                                             Schedule G
                                                                            American Express



  3.30   Prestige Elite Management Inc                                       Schedule D, line       2.3
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Broadway Advance LLC



  3.31   Prestige Elite Management Inc                                       Schedule D, line       2.4
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Broadway Advance LLC



  3.32   Prestige Elite Management Inc                                       Schedule D, line       2.6
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Logix Federal Credit Union



  3.33   Prestige Elite Management Inc                                       Schedule D, line       2.7
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Logix Federal Credit Union



  3.34   Prestige Elite Management Inc                                       Schedule D, line       2.8
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector



  3.35   Prestige Elite Management Inc                                       Schedule D, line       2.9
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector




Official Form 106H                                      Schedule H: Your Codebtors                                 Page 5 of 8
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Debtor 1 Davon Jermell White                                           Case number (if known)   2:24-bk-14190-NB


         Additional Page to List More Codebtors
         Column 1: Your codebtor                                            Column 2: The creditor to whom you owe the debt
                                                                            Check all schedules that apply:
  3.36   Prestige Elite Management Inc                                       Schedule D, line       2.10
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector



  3.37   Prestige Elite Management Inc                                       Schedule D, line       2.11
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector



  3.38   Prestige Elite Management Inc                                       Schedule D, line       2.12
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector



  3.39   Prestige Elite Management Inc                                       Schedule D, line       2.13
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector



  3.40   Prestige Elite Management Inc                                       Schedule D, line       2.14
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector



  3.41   Prestige Elite Management Inc                                       Schedule D, line       2.15
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Los Angeles County Tax Collector



  3.42   Prestige Elite Management Inc                                       Schedule D, line
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291                                                    Schedule G
                                                                            Luxury Auto



  3.43   Prestige Elite Management Inc                                       Schedule D, line       2.16
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Navy Federal Credit Union




Official Form 106H                                      Schedule H: Your Codebtors                                 Page 6 of 8
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Debtor 1 Davon Jermell White                                           Case number (if known)   2:24-bk-14190-NB


         Additional Page to List More Codebtors
         Column 1: Your codebtor                                            Column 2: The creditor to whom you owe the debt
                                                                            Check all schedules that apply:
  3.44   Prestige Elite Management Inc                                       Schedule D, line       2.17
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Navy Federal Credit Union



  3.45   Prestige Elite Management Inc                                       Schedule D, line       2.18
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Powersport Financial



  3.46   Prestige Elite Management Inc                                       Schedule D, line       2.19
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Queen Funding LLC



  3.47   Prestige Elite Management Inc                                       Schedule D, line       2.20
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Queen Funding LLC



  3.48   Prestige Elite Management Inc                                       Schedule D, line       2.21
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            State of California



  3.49   Prestige Elite Management Inc                                       Schedule D, line       2.22
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            State of California



  3.50   Prestige Elite Management Inc                                       Schedule D, line       2.23
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            University Credit Union



  3.51   Prestige Elite Management Inc                                       Schedule D, line
         2501 Lincoln Blvd                                                   Schedule E/F, line      4.13
         Venice, CA 90291
                                                                             Schedule G
                                                                            University Credit Union




Official Form 106H                                      Schedule H: Your Codebtors                                 Page 7 of 8
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Debtor 1 Davon Jermell White                                           Case number (if known)   2:24-bk-14190-NB


         Additional Page to List More Codebtors
         Column 1: Your codebtor                                            Column 2: The creditor to whom you owe the debt
                                                                            Check all schedules that apply:
  3.52   Prestige Elite Management Inc                                       Schedule D, line       2.24
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            University Credit Union



  3.53   Prestige Elite Management Inc                                       Schedule D, line       2.25
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            University Credit Union



  3.54   Prestige Elite Management Inc                                       Schedule D, line       2.27
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            V & E Inc DBA Powersport Financial



  3.55   Prestige Elite Management Inc                                       Schedule D, line       2.29
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Wells Fargo



  3.56   Prestige Elite Management Inc                                       Schedule D, line       2.30
         2501 Lincoln Blvd                                                   Schedule E/F, line
         Venice, CA 90291
                                                                             Schedule G
                                                                            Wells Fargo




Official Form 106H                                      Schedule H: Your Codebtors                                 Page 8 of 8
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Fill in this information to identify your case:

Debtor 1                      Davon Jermell White

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number               2:24-bk-14190-NB                                                              Check if this is:
(If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
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Debtor 1   Davon Jermell White                                                                   Case number (if known)    2:24-bk-14190-NB


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00   $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00   $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00   $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00   $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00   $               N/A
     5e.    Insurance                                                                     5e.        $              0.00   $               N/A
     5f.    Domestic support obligations                                                  5f.        $              0.00   $               N/A
     5g.    Union dues                                                                    5g.        $              0.00   $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 + $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00   $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00   $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $      1,753.00       $               N/A
     8b. Interest and dividends                                                           8b.        $          0.00       $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
     8e. Social Security                                                                  8e.        $              0.00   $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                   N/A
     8g. Pension or retirement income                                                     8g. $                 0.00   $                   N/A
     8h. Other monthly income. Specify: General Relief                                    8h.+ $              291.00 + $                   N/A
            Food Stamps                                                                        $              200.00   $                   N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,244.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              2,244.00 + $           N/A = $          2,244.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         2,244.00
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                    page 2
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Fill in this information to identify your case:

Debtor 1                Davon Jermell White                                                                Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

Case number           2:24-bk-14190-NB
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                                                                                 Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            6,300.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            200.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                          1,500.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Davon Jermell White                                                                       Case number (if known)      2:24-bk-14190-NB

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 250.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 100.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 135.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                291.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                  0.00
10.   Personal care products and services                                                    10. $                                                   0.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  150.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                               1,096.00
      17b. Car payments for Vehicle 2                                                      17b. $                                               2,689.00
      17c. Other. Specify:                                                                 17c. $                                                   0.00
      17d. Other. Specify:                                                                 17d. $                                                   0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                 973.00
19.   Other payments you make to support others who do not live with you.                         $                                                  0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      13,884.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      13,884.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,244.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             13,884.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                            -11,640.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Fill in this information to identify your case:

Debtor 1                    Davon Jermell White
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number              2:24-bk-14190-NB
(if known)
                                                                                                                          Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                               12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

                                                                           X
             Davon Jermell White                                               Signature of Debtor 2
             Signature of Debtor 1

             Date                   6/11/24                                    Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
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Fill in this information to identify your case:

Debtor 1                  Davon Jermell White
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          CENTRAL DISTRICT OF CALIFORNIA

Case number           2:24-bk-14190-NB
(if known)
                                                                                                                                       Check if this is an
                                                                                                                                          amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

       Married
             Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

       No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                               Dates Debtor 2
                                                          lived there                                                                        lived there
       4337 Marina City Drive                             From-To:                      Same as Debtor 1                                     Same as Debtor 1
       Unit 349                                           October 2018 -                                                                     From-To:
       Marina Del Rey, CA 90292                           May 2023


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

       No
             Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income               Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.           (before deductions
                                                                               exclusions)                                                    and exclusions)




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Debtor 1     Davon Jermell White                                                                       Case number (if known)   2:24-bk-14190-NB


                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income            Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.        (before deductions
                                                                                exclusions)                                                 and exclusions)

For last calendar year:                          Wages, commissions,                         $7,919.00         Wages, commissions,
(January 1 to December 31, 2023 )               bonuses, tips                                                  bonuses, tips

                                                 Operating a business                                          Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      No
          Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income            Gross income
                                                Describe below.                 each source                    Describe below.              (before deductions
                                                                                (before deductions and                                      and exclusions)
                                                                                exclusions)
From January 1 of current year until Food Stamps and                                          $1,964.00
the date you filed for bankruptcy:   General Aid

For last calendar year:                         Food Stamps and                               $1,000.00
(January 1 to December 31, 2023 )               General Aid


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                     No.       Go to line 7.
                     Yes       List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

      Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.       Go to line 7.
                     Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe




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7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

          No
      Yes. List all payments to an insider.
      Insider's Name and Address                         Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                               paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
      Yes. List all payments to an insider
      Insider's Name and Address                         Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                               paid            still owe       Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

      No
          Yes. Fill in the details.
      Case title                                         Nature of the case           Court or agency                          Status of the case
      Case number
      American Express                                   Credit Card                  Superior Court of California              Pending
      vs Davon Jermell White                             Collections                  1725 Main Street                          On appeal
      23SMCV01253                                                                     Santa Monica, CA 90401
                                                                                                                                Concluded


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

      No. Go to line 11.
          Yes. Fill in the information below.
      Creditor Name and Address                          Describe the Property                                          Date                        Value of the
                                                                                                                                                       property
                                                         Explain what happened
      Los Angeles Child Support                          Unified Bank Account                                           February 2024                     $8.00
      Services
      5500 South Eastern Avenue                           Property was repossessed.
      Los Angeles, CA 90040                               Property was foreclosed.
                                                          Property was garnished.
                                                          Property was attached, seized or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
          No
      Yes. Fill in the details.
      Creditor Name and Address                          Describe the action the creditor took                          Date action was                Amount
                                                                                                                        taken




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12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

          No
      Yes
Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
          No
      Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600               Describe the gifts                                       Dates you gave                Value
      per person                                                                                                        the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
          No
      Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total           Describe what you contributed                            Dates you                     Value
      more than $600                                                                                                    contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

          No
      Yes. Fill in the details.
      Describe the property you lost and             Describe any insurance coverage for the loss                       Date of your      Value of property
      how the loss occurred                          Include the amount that insurance has paid. List pending           loss                           lost
                                                     insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      No
          Yes. Fill in the details.
      Person Who Was Paid                                      Description and value of any property                    Date payment              Amount of
      Address                                                  transferred                                              or transfer was            payment
      Email or website address                                                                                          made
      Person Who Made the Payment, if Not You
      Abacus Credit Counseling                                 Credit Counseling                                        April 3, 2024               $25.00
      15760 Ventura Blvd
      Suite 700
      Encino, CA 91436


      Andre A. Khansari, Esq.                                  Installment on Attorneys' Fees                           February 20,              $4,000.00
      KHANSARI LAW CORPORATION                                                                                          2024
      16133 Ventura Blvd.
      Suite 1200
      Los Angeles, CA 90064
      Pashuan Green




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      Person Who Was Paid                                  Description and value of any property                    Date payment              Amount of
      Address                                              transferred                                              or transfer was            payment
      Email or website address                                                                                      made
      Person Who Made the Payment, if Not You
      Andre A. Khansari, Esq.                              Installment on Attorneys' Fees                           March 13,                 $2,000.00
      KHANSARI LAW CORPORATION                                                                                      2024
      16133 Ventura Blvd.
      Suite 1200
      Encino, CA 91436
      Pashuan Green

      Andre A. Khansari, Esq.                              Installment on Attorneys' Fees                           March 19,                 $4,000.00
      KHANSARI LAW CORPORATION                                                                                      2024
      16133 Ventura Blvd.
      Suite 1200
      Encino, CA 91436
      Pashuan Green

      Andre A. Khansari, Esq.                              Installment on Attorneys' Fees                           May 28, 2024              $4,000.00
      KHANSARI LAW CORPORATION
      16133 Ventura Blvd.
      Suite 1200
      Encino, CA 91436
      Pashuan Green

      Andre A. Khansari, Esq.                              Installment on Attorneys' Fees                           June 2, 2024              $6,000.00
      KHANSARI LAW CORPORATION
      16133 Ventura Blvd.
      Suite 1200
      Encino, CA 91436
      Pashuan Green


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

          No
      Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment              Amount of
      Address                                              transferred                                              or transfer was            payment
                                                                                                                    made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
          No
      Yes. Fill in the details.
      Person Who Received Transfer                         Description and value of                   Describe any property or        Date transfer was
      Address                                              property transferred                       payments received or debts      made
                                                                                                      paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
          No
      Yes. Fill in the details.
      Name of trust                                        Description and value of the property transferred                          Date Transfer was
                                                                                                                                      made




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Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
          No
      Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of               Type of account or           Date account was             Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                   closed, sold,            before closing or
      Code)                                                                                                              moved, or                         transfer
                                                                                                                         transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

          No
      Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?                 Describe the contents                Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                                  have it?
                                                                   State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

          No
      Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access                 Describe the contents                Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                          have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

          No
      Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                     Describe the property                           Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

          No
      Yes. Fill in the details.
      Name of site                                                 Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                   ZIP Code)




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25. Have you notified any governmental unit of any release of hazardous material?

          No
      Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No
      Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                   Status of the
      Case Number                                                Name                                                                            case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
            A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
      No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                         Describe the nature of the business                  Employer Identification number
      Address                                                                                                    Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                                 Dates business existed
      Prestige Elite Management Inc                         Luxury Car Rental and Lifestyle                      EIN:       XX-XXXXXXX
      2501 Lincoln Blvd                                     consultant; Currently inactive.
      Venice, CA 90291                                                                                           From-To    1/23/2018 to Present
                                                            Kevin Jacobs
                                                            4187 Flat Rock Dr Suite 300
                                                            Riverside CA 92505

      Money King Check Cashing                              Payday check cashing and luxury                      EIN:       XX-XXXXXXX
      Incorporated                                          car leasing. Inactive and no
      2501 Lincoln Blvd                                     longer operating.                                    From-To    2013-Present
      Venice, CA 90291
                                                            Kevin Jacobs
                                                            4187 Flat Rock Dr Suite 300
                                                            Riverside CA 92505


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

          No
      Yes. Fill in the details below.
      Name                                                  Date Issued
      Address
      (Number, Street, City, State and ZIP Code)

Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
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with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.


Davon Jermell White                                         Signature of Debtor 2
Signature of Debtor 1

Date        06/10/24                                        Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person         . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                  for family farmers or                                                   certain kinds of improper conduct described in the
                  fishermen                                                               Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                  for individuals with regular                                            You should know that even if you file chapter 7 and
                  income                                                                  you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




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       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
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       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
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                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4
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B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                               Central District of California
 In re       Davon Jermell White                                                                              Case No.      2:24-bk-14190-NB
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 20,000.00
             Prior to the filing of this statement I have received                                        $                 20,000.00
             Balance Due                                                                                  $                       0.00

2.   $      1,738.00       of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor              Other (specify):        via Pashuan Green Debtor's girlfriend

4.   The source of compensation to be paid to me is:

                  Debtor              Other (specify):        via Pashuan Green Debtor's girlfriend

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached. Andre A. Khansari, Esq.
            transfered $10,000.00 of the retainer to Havkin & Shrago and the balance is in the process of being transfered to
            Havkin & Shrago where Andre A. Khansari, Esq proposes to work as of counsel for Havkin & Shrago.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]


7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtor in any adversary proceeding or matters requiring an evidentiary hearing.
                                                                      CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     June 10, 2024                                                            /s/ Stella Havkin Esq.
     Date                                                                     Stella Havkin,Esq
                                                                              Signature of Attorney
                                                                              HAVKIN & SHRAGO ATTORNEYS AT LAW
                                                                              5950 Canoga Avenue
                                                                              Suite 400
                                                                              Woodland Hills, California 91367
                                                                              (818) 999-1568 Fax: (818) 293-2414
                                                                              stella@havkinandshrago.com
                                                                              Name of law firm
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Attorney or Party Name, Address, Telephone & FAX Nos.,                              FOR COURT USE ONLY
State Bar No. & Email Address
                , Esq.
5950
Suite 400
               ,C          9 3 7
(818) 999- 5   Fax: (818) 93- 4 4
California State Bar Number: 34334 CA
      @                  .com




 Debtor(s) appearing without an attorney
 Attorney for Debtor

                                                     UNITED STATES BANKRUPTCY COURT
                                                      CENTRAL DISTRICT OF CALIFORNIA

In re:
                                                                                    CASE NO.: 2:24-bk-14190-NB
            Davon Jermell White
                                                                                    CHAPTER: 11




                                                                                                       VERIFICATION OF MASTER
                                                                                                      MAILING LIST OF CREDITORS

                                                                                                                     [LBR 1007-1(a)]

                                                                Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 10 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date:             6/11/24
                                                                                           Signature of Debtor 1

Date:
                                                                                           Signature of Debtor 2 (joint debtor) ) (if applicable)

Date:                                                                                      /s/
                                                                                           Signature of Attorney for Debtor (if applicable)




                    This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                        F 1007-1.MAILING.LIST.VERIFICATION
